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 8                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 9
                                     OAKLAND DIVISION
10

11   IN RE: SOCIAL MEDIA ADOLESCENT                   MDL No. 3047
     ADDICTION/PERSONAL INJURY
12   PRODUCTS LIABILITY LITIGATION                    Case No. 4:22-md-03047-YGR-TSH
13                                                    Honorable Yvonne Gonzalez Rogers
     THIS DOCUMENT RELATES TO:
14
     ALL ACTIONS                                      DEFENDANTS’ STATEMENT OF
15                                                    RECENT DECISIONS

16

17                                                    Hearing:
                                                      Date: October 27, 2023
18                                                    Time: 10:30 AM
                                                      Place: Courtroom 1, 4th Floor
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                                                      Judge: Hon. Yvonne Gonzalez Rogers
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 1          Pursuant to N.D. Cal. Civil L.R. 7-3(d)(2), Defendants submit as supplemental authority three

 2   recent orders enjoining state legislation intended to protect minors online by limiting their ability to

 3   access potentially harmful online content:

 4      NetChoice, LLC v. Bonta, 2023 WL 6135551 (N.D. Cal. Sept. 18, 2023) (preliminarily enjoining

 5       as likely violating the First Amendment California’s Age-Appropriate Design Code Act, which,

 6       among other things, limits the use of minors’ personal data to profile users or target content;

 7       requires online businesses to “[e]stimate the age of child users with a reasonable level of certainty”;

 8       forbids “[using] the personal information of any child in a way that the business knows, or has

 9       reason to know, is materially detrimental to the physical health, mental health, or well-being of a
10       child”; and forbids certain other actions that may be “materially detrimental” to a child’s well-

11       being, including using “design features that ‘nudge’ individuals into . . . spending more time on an

12       application”), attached as Ex. 1;

13      NetChoice, LLC v. Griffin, 2023 WL 5660155 (W.D. Ark. Aug. 31, 2023) (preliminarily enjoining

14       as likely violating the First Amendment Arkansas statute requiring age authentication and parental

15       consent for minors to create accounts on social media websites), attached as Ex. 2; and

16      Free Speech Coalition, Inc. v. Colmenero, 2023 WL 5655712 (W.D. Tex. Aug. 31, 2023)

17       (preliminarily enjoining as likely violating the First Amendment Texas statute requiring websites

18       containing “sexual material harmful to minors” to age-authenticate and block minors), attached as

19       Ex. 3.
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 1   Dated: September 21, 2023                Respectfully submitted,
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 1                                             ATTESTATION

 2          I, Lauren Gallo White, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence

 3   to the filing of this document has been obtained from each signatory hereto.

 4

 5    DATED:         September 21, 2023             By:    /s/ Lauren Gallo White
                                                            Lauren Gallo White
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